Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 1 of 26




                      Exhibit 26
Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 2 of 26



  CENTER FOR DRUG EVALUATION AND
             RESEARCH



                   APPLICATION NUMBER:
                    202439Orig1s000


                MEDICAL REVIEW(S)
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 3 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

                                     CLINICAL REVIEW

                     Application Type NDA Type 1 -- (505(b)(1))
               Application Number(s) 202439
                 Priority or Standard Standard
                           Submit Date(s)      4 January 2011
                         Received Date(s)      5 January 2011
                        PDUFA Goal Date        5 November 2011
                          Division / Office    DCRP/ODE 1

                Reviewer Name(s) Nhi Beasley, Preston Dunnmon
                                  (safety); Martin Rose (efficacy)
           Review Completion Date 10 August 2011

                    Established Name Rivaroxaban
                         Trade Name Xarelto®
                    Therapeutic Class Anticoagulant (factor Xa
                                        inhibitor)
                             Applicant Johnson & Johnson
                                        Pharmaceutical Research &
                                        Development, LLC
                       Formulation(s) Oral tablets – 15 & 20 mg
                     Dosing Regimen 15 or 20 mg once daily, based
                                        on renal function
                          Indication(s) Prevention of stroke and
                                        systemic embolism in patients
                                        with non-valvular atrial fibrillation
               Intended Population(s) Adults
          Template Version: March 6, 2009


                                                  1
Reference ID: 2998874
               Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 4 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

           Note to Readers
          In this review, a high level summary of the efficacy, safety and risk-benefit data is found
          in Section 1.2 Individual summaries of the efficacy and safety data are found at the
          beginning of Section 6 and Section 7, respectively. Internal hyperlinks to other parts of
          the review are in blue font. The Tables of Contents, Tables, and Figures are also
          hyperlinked to their targets.




                 Table of Contents
          NOTE TO READERS ...................................................................................................... 2
          TABLE OF CONTENTS.................................................................................................. 2
          1     RECOMMENDATIONS/RISK BENEFIT ASSESSMENT ....................................... 10
               1.1    Recommendation on Regulatory Action ........................................................... 10
               1.2    Risk Benefit Assessment .................................................................................. 11
               1.3    Recommendations for Postmarket Risk Evaluation and Mitigation Strategies . 20
               1.4    Recommendations for Postmarket Requirements and Commitments .............. 20
          2     INTRODUCTION AND REGULATORY BACKGROUND ...................................... 20
               2.1 Product Information .......................................................................................... 20
               2.2 Tables of Currently Available Treatments for Proposed Indication ................... 21
                 2.2.1 Overview of Atrial Fibrillation and Stroke ................................................... 21
                 2.2.2 Currently Available Treatments .................................................................. 22
               2.3 Availability of Proposed Active Ingredient in the United States ........................ 24
               2.4 Important Issues with Consideration to Related Drugs ..................................... 26
               2.5 Summary of Presubmission Regulatory Activity Related to Submission .......... 26
               2.6 Other Relevant Background Information .......................................................... 29
                 2.6.1 Foreign Approvals ...................................................................................... 29
          3     ETHICS AND GOOD CLINICAL PRACTICES ....................................................... 29
               3.1 Submission Quality and Integrity ...................................................................... 29
               3.2 Compliance with Good Clinical Practices ......................................................... 30
               3.3 Financial Disclosures........................................................................................ 30
          4     SIGNIFICANT EFFICACY/SAFETY ISSUES RELATED TO OTHER REVIEW
                 DISCIPLINES ......................................................................................................... 31
               4.1 Chemistry, Manufacturing and Controls ........................................................... 31
               4.2 Clinical Microbiology ......................................................................................... 31
               4.3 Preclinical Pharmacology/Toxicology ............................................................... 31
               4.4 Clinical Pharmacology ...................................................................................... 33
                 4.4.1 Mechanism of Action .................................................................................. 33
                 4.4.2 Pharmacodynamics.................................................................................... 33


                                                                         2
Reference ID: 2998874
               Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 5 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

                  4.4.3 Pharmacokinetics ....................................................................................... 35
          5     SOURCES OF CLINICAL DATA............................................................................ 47
               5.1 Tables of Studies/Clinical Trials ....................................................................... 47
               5.2 Review Strategy ............................................................................................... 48
               5.3 Discussion of Individual Studies/Clinical Trials ................................................. 48
                 5.3.1 ROCKET .................................................................................................... 49
                    5.3.1.1 Study Design and Objectives .......................................................................... 49
                    5.3.1.2 Geographic Scope ........................................................................................... 49
                    5.3.1.3 Study Duration/Dates ...................................................................................... 49
                    5.3.1.4 Patients............................................................................................................ 50
                    5.3.1.5 Treatments ...................................................................................................... 52
                    5.3.1.6 Randomization and Blinding ............................................................................ 58
                    5.3.1.7 Study Plan and Procedures ............................................................................. 58
                    5.3.1.8 Efficacy Endpoints ........................................................................................... 64
                    5.3.1.9 Safety Endpoints and Procedures ................................................................... 66
                    5.3.1.10   Adjudication of Endpoints by the Clinical Endpoint Committee ................... 69
                    5.3.1.11   Statistical Plan ............................................................................................. 72
                    5.3.1.12   Study Committees ....................................................................................... 79
                    5.3.1.13   Protocol Amendments ................................................................................. 80
                  5.3.2 Supporting Study: J ROCKET ................................................................... 81
                    5.3.2.1 Design of J ROCKET and contrasts with ROCKET......................................... 81
                    5.3.2.2 Efficacy Results of J ROCKET ........................................................................ 83
          6     REVIEW OF EFFICACY ......................................................................................... 95
          EFFICACY SUMMARY ................................................................................................. 95
                  6.1.1     Indication.................................................................................................. 101
                  6.1.2     Methods ................................................................................................... 101
                  6.1.3     Demographics .......................................................................................... 102
                  6.1.4     Subject Disposition and Compliance with Study Drug.............................. 106
                    6.1.4.1 Disposition ..................................................................................................... 106
                    6.1.4.2 Compliance with Study Drug ......................................................................... 111
                  6.1.5 Analysis of Primary Endpoint ................................................................... 112
                    6.1.5.1 Effect of Time after Randomization ............................................................... 117
                  6.1.6 Other Efficacy Endpoints.......................................................................... 123
                  6.1.7 Subpopulations ........................................................................................ 125
                    6.1.7.1 Subpopulations of the global study population .............................................. 125
                    6.1.7.2 US patients only ............................................................................................ 129
                  6.1.8 Analysis of Clinical Information Relevant to Dosing Recommendations .. 135
                  6.1.9 Discussion of Persistence of Efficacy and/or Tolerance Effects ............... 144
                  6.1.10 Additional Efficacy Issues/Analyses ......................................................... 144
                    6.1.10.1   Constancy assumption issues ................................................................... 144
                    6.1.10.2   Adequacy of comparator ........................................................................... 146
                    6.1.10.3   Events Occurring After Discontinuation of Study Drug .............................. 165
                    6.1.10.4   Data Regarding Adjudication of the Primary Endpoint .............................. 186
          7     REVIEW OF SAFETY........................................................................................... 189


                                                                              3
Reference ID: 2998874
               Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 6 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          SAFETY SUMMARY................................................................................................... 189
               7.1 Methods.......................................................................................................... 197
                 7.1.1 Studies/Clinical Trials Used to Evaluate Safety ....................................... 197
                 7.1.2 Categorization of Adverse Events ............................................................ 198
                 7.1.3 Pooling of Data Across Studies/Clinical Trials to Estimate and Compare
                        Incidence.................................................................................................. 198
               7.2 Adequacy of Safety Assessments .................................................................. 198
                 7.2.1 Overall Exposure at Appropriate Doses/Durations and Demographics of
                        Target Populations ................................................................................... 198
                 7.2.2 Explorations for Dose Response .............................................................. 199
                 7.2.3 Special Animal and/or In Vitro Testing ..................................................... 199
                 7.2.4 Routine Clinical Testing ........................................................................... 200
                 7.2.5 Metabolic, Clearance, and Interaction Workup ........................................ 200
                 7.2.6 Evaluation for Potential Adverse Events for Similar Drugs in Drug Class 201
               7.3 Major Safety Results ...................................................................................... 201
                 7.3.1 Deaths...................................................................................................... 201
                 7.3.2 Nonfatal Serious Adverse Events ............................................................ 206
                 7.3.3 Dropouts and/or Discontinuations ............................................................ 207
                 7.3.4 Significant Adverse Events - Bleeding ..................................................... 211
                 7.3.5 Submission Specific Primary Safety Concerns ........................................ 243
               7.4 Supportive Safety Results .............................................................................. 245
                 7.4.1 Common Non-Bleeding Adverse Events .................................................. 245
                 7.4.2 Laboratory Findings ................................................................................. 246
                 7.4.3 Vital Signs ................................................................................................ 246
                 7.4.4 Electrocardiograms (ECGs) ..................................................................... 246
                 7.4.5 Special Safety Studies/Clinical Trials ....................................................... 248
                 7.4.6 Immunogenicity ........................................................................................ 248
               7.5 Other Safety Explorations............................................................................... 248
                 7.5.1 Dose Dependency for Adverse Events .................................................... 248
                 7.5.2 Time Dependency for Adverse Events ..................................................... 248
                 7.5.3 Drug-Demographic Interactions ............................................................... 248
                 7.5.4 Drug-Disease Interactions ........................................................................ 248
                 7.5.5 Drug-Drug Interactions ............................................................................. 249
               7.6 Additional Safety Evaluations ......................................................................... 250
                 7.6.1 Human Carcinogenicity ............................................................................ 250
                 7.6.2 Human Reproduction and Pregnancy Data.............................................. 251
                 7.6.3 Pediatrics and Assessment of Effects on Growth .................................... 252
                 7.6.4 Overdose, Drug Abuse Potential, Withdrawal and Rebound.................... 252
               7.7 Additional Submissions / Safety Issues .......................................................... 253
          8     POSTMARKETING EXPERIENCE ...................................................................... 255
          9     APPENDICES ...................................................................................................... 256
               9.1 Literature Review/References ........................................................................ 256
               9.2 Labeling Recommendations ........................................................................... 256


                                                                         4
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 7 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

             9.3 Advisory Committee Meeting .......................................................................... 256
          REFERENCE LIST ..................................................................................................... 257
          ATTACHMENT 1 ........................................................................................................ 259
          ATTACHMENT 2 ........................................................................................................ 280
          ATTACHMENT 3 ........................................................................................................ 281
          ATTACHMENT 4 ........................................................................................................ 297
          ATTACHMENT 5 ........................................................................................................ 300
          ATTACHMENT 6 ........................................................................................................ 301



                                                          Table of Tables
          Table 1. Major Bleeds Incurred Per Stroke/SE Prevented By TTR Quartile – Global Safety
          Population On-Treatment ......................................................................................................... 19
          Table 2. Major Bleeds Incurred Per Stroke/SE Prevented By TTR Quartile – US (LD+2) ....... 19
          Table 3. Rivaroxaban product information............................................................................... 21
          Table 4. Overall Primary Endpoint Results of RE-LY .............................................................. 22
          Table 5. Relative Risk of Stroke/SE by Center-Level INR Control in RE-LY ........................... 23
          Table 6. ROCKET ISTH Major Bleeding Type vs. PT ............................................................. 41
          Table 7. Comparisons of Week 12 vs. Week 24 Pt Values In ROCKET ................................. 43
          Table 8. ROCKET -- Schedule For Brief And Full Clinic Visits ................................................ 61
          Table 9. ROCKET – Early Termination And End Of Study Procedures................................... 63
          Table 10. ROCKET – History Of The Sponsor’s SAP With Other Relevant Events ................ 77
          Table 11. Features of ROCKET And J ROCKET .................................................................... 81
          Table 12. J ROCKET – Baseline Medical History .................................................................... 84
          Table 13. J ROCKET - Reasons For Failure To Complete Double-Blind Treatment ............... 87
          Table 14. J ROCKET - Reasons For Failure To Complete 30 Day Follow-Up Visit ................ 87
          Table 15. J ROCKET -- Analysis Populations ......................................................................... 88
          Table 16. J ROCKET – Primary Efficacy Endpoint Results ..................................................... 89
          Table 17. J ROCKET – Rates Of Secondary Efficacy Endpoints ............................................ 92
          Table 18. J ROCKET -- Subgroup Analyses For The Primary Efficacy Endpoint .................... 93
          Table 19. J ROCKET – Percentage Of Warfarin Arm INR Values In The Target Range......... 94
          Table 20. ROCKET – Efficacy Analysis Populations ............................................................. 102
          Table 21. ROCKET – Baseline Demographics And Disease-Related Parameters ............... 103
          Table 22. ROCKET -- Medications Received Prior To Baseline ............................................ 105
          Table 23. ROCKET -- Reasons For Early Discontinuation Of Study Drug ............................ 108
          Table 24. ROCKET -- Reasons For Early Discontinuation Of Follow-Up .............................. 109
          Table 25. ROCKET -- Reasons For Lack Of 30-Day Follow-Up Visit (ITT Population) ......... 111
          Table 26. Compliance By Region And Treatment ................................................................. 112
          Table 27. ROCKET -- Primary Efficacy Endpoint Results ..................................................... 113
          Table 28. ROCKET – Additional Analyses Of The Primary Efficacy Endpoint Results ......... 115



                                                                      5
Reference ID: 2998874
              Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 8 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          Table 29. Sensitivity Analyses Of Non-Inferiority And Superiority Of Rivaroxaban ............... 116
          Table 30: Primary Event Rates In Various Time Periods ...................................................... 118
          Table 31. Mean INR Over The Course Of ROCKET ............................................................. 119
          Table 32. Mean Time In Specified Ranges Of INR During Intervals Of Treatment ............... 120
          Table 33. Mean Time In Specified Ranges Of INR During Intervals Of Treatment ............... 120
          Table 34. Mean Time In Specified Ranges Of INR During Intervals Of Treatment ............... 121
          Table 35. Primary Efficacy Endpoint Events By Baseline VKA Status And Time Period ....... 122
          Table 36. ROCKET – Secondary Endpoint Data ................................................................... 123
          Table 37. ROCKET -- Primary Efficacy Endpoint Results – Subgroup Interaction ................ 128
          Table 38. ROCKET -- Primary Efficacy Endpoint Results – Subgroup Interaction ................ 128
          Table 39. ROCKET -- Primary Efficacy Endpoint Results – Subgroup Interaction ................ 129
          Table 40. ROCKET – US Patients – Key Baseline Demographics And Disease-Related
          Parameters ............................................................................................................................. 130
          Table 41. ROCKET – US Patients - Reasons For Early Discontinuation Of Study Drug ....... 132
          Table 42. ROCKET – US Patients - Reasons For Early Discontinuation Of Follow-Up........ 133
          Table 43. US Patients – Efficacy Results For Primary Endpoint ........................................... 134
          Table 44. US Patients – Efficacy Results For Secondary Endpoints ..................................... 135
          Table 45. DVT Treatment Study 11223 – Efficacy Results ................................................... 138
          Table 46. DVT Treatment Study 11223 – Safety Results ...................................................... 138
          Table 47. DVT Treatment Study 11528 – Efficacy Results ................................................... 139
          Table 48. ATLAS-ACS TIMI 46 – Rates Of MACE 1.............................................................. 141
          Table 49. ATLAS ACS TIMI 46 – Rates Of MACE ................................................................ 142
          Table 50. ATLAS ACS TIMI 46 – Rates Of Clinically Significant Bleeding ............................ 143
          Table 51. ROCKET vs. 6 Placebo-Controlled Warfarin Trials .............................................. 145
          Table 52. ROCKET – Percent Time In INR Range In Warfarin Arm ..................................... 147
          Table 53: Ischemic Stroke Risk For INR < 2.0 ...................................................................... 149
          Table 54. ROCKET – Mean Percentage Time In INR Categories By Region ....................... 150
          Table 55. ROCKET vs. Modern Warfarin-Controlled Trials ................................................... 151
          Table 56. ROCKET – Sponsor’s Analysis Of Primary Endpoint Results By Center TTR
          Quartile,.................................................................................................................................. 155
          Table 57. ROCKET – FDA’s Analysis Of Primary Endpoint Results By Center TTR Quartile156
          Table 58. ROCKET – FDA’s Analysis Of Primary Endpoint Results By Center TTR Quartile157
          Table 59. ROCKET – FDA’s Analysis Of Primary Endpoint Results By Site TTR ................. 158
          Table 60. ROCKET – Primary Endpoint Results By Site Mean Time Below Therapeutic
          Range Quartile ....................................................................................................................... 162
          Table 61. Primary Endpoint Results In Various Event Windows ........................................... 166
          Table 62. ROCKET - Efficacy Endpoint Events From Day 3 To Day 30................................ 168
          Table 63. ROCKET - Primary Efficacy Endpoint Events From Day 3 To Day 30 .................. 170
          Table 64. ROCKET - Efficacy Endpoint Events From Day 3 To Day 30 After Last Dose Of
          Study Drug In Completers ...................................................................................................... 172
          Table 65. ROCKET – Primary Efficacy Events From Day 3 To Day 30................................. 173
          Table 66. ROCKET – Primary Endpoint Events Day 3-30..................................................... 173
          Table 67. Characteristics Of Completing Patients With Primary Endpoint Events 3 To 30
          Days ....................................................................................................................................... 174



                                                                            6
Reference ID: 2998874
              Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 9 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          Table 68. ROCKET – Time To First Dose Of VKA Within 30 Days After Last Dose Of Study
          Drug – Early Discontinuation Patients .................................................................................... 175
          Table 69. ROCKET – Time To First Dose Of VKA Within 30 Days After Last Dose Of Study
          Drug – Completing Patients ................................................................................................... 176
          Table 70. ROCKET – Last Observed INR Between Day 1 After Last Dose Of Study Drug
          And Either The First Primary Efficacy Endpoint (Day 3 To Day 30) Or Day 30, Completing
          Patients .................................................................................................................................. 177
          Table 71. Comparison Of Primary Efficacy Endpoint Event Rates In “VKA Naïve” Patients . 178
          Table 72. ROCKET - Interruptions Of Treatment  3 Days In Duration ................................. 180
          Table 73. Adjudicated Primary Endpoint Events During Treatment Interruptions  3 Days... 180
          Table 74. J ROCKET – Summary Of Primary Endpoint Events On Treatment And After
          Discontinuation Of Study Drug ............................................................................................... 182
          Table 75. ROCKET - Discordance In Adjudication Of The Primary Endpoint ........................ 187
          Table 76. CEC adjudicated bleeding in ROCKET ................................................................. 191
          Table 77. ROCKET ICH Occurrence (LD+2, safety pop) ....................................................... 192
          Table 78. Time To First Fatal Bleed (ROCKET To Follow Up Visit ) ..................................... 193
          Table 79 ROCKET CEC Adjudicated Bleeds – US – (LD+2, Safety Pop) ............................. 194
          Table 80. Rivaroxaban Exposure In ROCKET ...................................................................... 199
          Table 81. ROCKET Schedule Of Safety Procedures ............................................................ 200
          Table 82. ROCKET + J-ROCKET Death (LD+2, Safety Pop) ............................................... 201
          Table 83. ROCKET + J-ROCKET Causes Of Death (Regardless Of Exp, Safety Pop) ........ 202
          Table 84. ROCKET Death Cause And Subclass (LD+30, Safety Pop) ................................. 204
          Table 85. ROCKET 15 Most Frequent AEs Leading To Death (Safety Pop)......................... 205
          Table 86. ROCKET Most Common TESAEs ......................................................................... 207
          Table 87. AEs Leading To EDSM By PT (Safety Pop) ......................................................... 208
          Table 88. Bleeding In Patients With NMCR Bleed 30d Before ESMD ................................... 209
          Table 89. Bleeding In Patients With NMCR Bleed Any Time Before ESMD.......................... 209
          Table 90. ROCKET TE Acute Renal Failure (SMQ, Safety Pop) .......................................... 210
          Table 91. ROCKET CEC Adjudicated Bleeding (LD+2, Safety Pop) ..................................... 213
          Table 92. ROCKET ICH Incidence (LD+2, Safety Pop) ........................................................ 219
          Table 93. ROCKET ICH Incidence (LD+30, Safety Pop) ...................................................... 220
          Table 94. ROCKET Time To ICH (LD+30, Safety Pop) ......................................................... 220
          Table 95. ROCKET Time To Fatal Bleed (LD+30, Safety Pop) ............................................. 224
          Table 96. Major Bleeding Definitions, ROCKET vs. RE-LY ................................................... 224
          Table 97. ROCKET vs. RE-LY Major Bleeding ..................................................................... 225
          Table 98. ROCKET Enrollment by Region ............................................................................ 227
          Table 99. ROCKET CEC Adjudicated Bleeds - US Alone - (LD+2, Safety Pop) ................... 228
          Table 100. Comparative Completion - ROCKET (Safety Pop) ............................................... 230
          Table 101. Comparative Demographics - ROCKET US vs. Global (ITT) .............................. 230
          Table 102. ROCKET Percent Compliance By Region ........................................................... 231
          Table 103. ROCKET US Major Bleeds By Site TTR Quartile (LD+2, Safety Pop) ................ 232
          Table 104. ROCKET Global Major Bleeds By Site TTR Quartile (LL+2, Safety Pop)............ 232
          Table 105. ROCKET – Incidence Of The Most Common TEAEs .......................................... 246
          Table 106. TQT Study Results .............................................................................................. 247
          Table 107. Neoplasms In ROCKET And J-ROCKET ............................................................ 250


                                                                           7
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 10 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          Table 108. Pancreatitis In ROCKET ...................................................................................... 253
          Table 109. Thrombocytopenia In ROCKET ........................................................................... 254
          Table 110. Hypersensitivity (SMQ) In ROCKET .................................................................... 255
          Table 111. ROCKET -- Dosing For Subjects Having An Invasive Procedure ........................ 281
          Table 112. ROCKET -- Study Time And Event Schedule...................................................... 284
          Table 113. ROCKET -- PK/PD Data Time And Event Schedule .......................................... 285
          Table 114. Overall TTR Calculations Using Different Methods in Warfarin-Treated Subjects
          in the ROCKET AF Study ....................................................................................................... 302
          Table 115. Center-based TTR Quartile Upper Limits – Contrast of FDA and Sponsor
          Results ................................................................................................................................... 302



                                                             Table of Figures
          Figure 1. Chemical structure of rivaroxaban ........................................................................... 21
          Figure 2. Incomplete and transient reversal in non-human primates ....................................... 32
          Figure 3. Simulation - 20 Mg QD vs. 10 Mg BID ..................................................................... 34
          Figure 4. Rivaroxaban plasma concentration vs. PT ............................................................... 37
          Figure 5. Rivaroxaban plasma concentration vs. FXa-activity ................................................. 37
          Figure 6. ROCKET prothrombin time vs. rivaroxaban plasma concentration .......................... 38
          Figure 7. ROCKET ischemic stroke vs. PT (LD+2, pp pop)..................................................... 39
          Figure 8. ROCKET ISTH major bleeds vs. PT (LD+2, pp pop)................................................ 40
          Figure 9. ROCKET TIMI Major Bleeds (LD+2, Pp Pop) .......................................................... 40
          Figure 10. ROCKET ISTH major bleeding vs. PT by ASA use ................................................ 41
          Figure 11. ROCKET Warfarin Patients - stroke / TIMI major bleeds vs. INR........................... 42
          Figure 12. ROCKET – Timing of INR Blood Draws After Dosing ............................................ 44
          Figure 13. ROCKET INR distributions ...................................................................................... 45
          Figure 14. ROCKET ischemic stroke vs. last observed INR .................................................... 46
          Figure 15. ROCKET TIMI major bleeds vs. last observed INR ................................................ 46
          Figure 16. Study flow diagram ................................................................................................ 59
          Figure 17. J ROCKET patient disposition ................................................................................ 86
          Figure 18. J ROCKET -- Time To First Primary Endpoint Event ............................................. 90
          Figure 19. J ROCKET -- Time To First Primary Endpoint Event ............................................. 90
          Figure 20: Hazard Ratio For The Primary Efficacy Endpoint Analysis As A Function Of
          Center TTR .............................................................................................................................. 98
          Figure 21. Modeling of Once vs. Twice Daily Dosing with Rivaroxaban ................................ 101
          Figure 22. ROCKET – Subject Disposition ............................................................................ 107
          Figure 23. ROCKET -- Time To Discontinuation Of Study Drug ............................................ 109
          Figure 24. ROCKET -- Kaplan-Meier Plots Of Primary Efficacy Endpoint Results ................ 114
          Figure 25. Estimated Hazard Functions over Time since Randomization .............................. 117
          Figure 26. ROCKET -- Primary Endpoint Results by Patient Subgroup ................................ 126
          Figure 27. DVT Treatment Study 11528 – Safety Results..................................................... 140
          Figure 28. INR vs. Risks Of Ischemic And Hemorrhagic Stroke ............................................ 149
          Figure 29. TTR vs. Hazard Ratio Estimate from ACTIVE-W ................................................. 153


                                                                           8
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 11 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          Figure 30. Hazard Ratio and 95% CI for the Primary Efficacy Endpoint Analysis as a
          Function of Center TTR .......................................................................................................... 159
          Figure 31. Hazard Ratio And 95% CI For The Primary Efficacy Endpoint Analysis As A
          Function Of Center TTR ......................................................................................................... 160
          Figure 32. ROCKET - Moving Average of HR vs. TTR.......................................................... 161
          Figure 33. Survival Curve Of Primary Efficacy Endpoint Events From Day 3 To Day 30 ..... 169
          Figure 34. Survival Curve Of Primary Efficacy Endpoint Events From Day 3 To Day 30 ..... 171
          Figure 35. ROCKET All CEC Adjudicated Deaths ................................................................. 203
          Figure 36. ROCKET All Cause Death (Regardless, ITT)....................................................... 206
          Figure 37. Creatinine Percentile Change From Baseline, Week 24 ...................................... 211
          Figure 38. ROCKET Any Bleeding Events (LD+2, Safety Pop) ............................................. 214
          Figure 39. ROCKET Principal Safety Endpoint (LD+2, Safety Pop) ...................................... 214
          Figure 40. ROCKET Major Bleeds (LD+2, Safety Pop) ......................................................... 215
          Figure 41. ROCKET Major Bleeds (LD+30, Safety Pop) ....................................................... 216
          Figure 42. ROCKET + J-ROCKET TIMI Major Bleeds (LD+2, Safety Pop) ........................... 216
          Figure 43. ROCKET + J-ROCKET ISTH Major Bleeds (LD+30, Safety Pop) ........................ 217
          Figure 44. ROCKET + J-ROCKET TIMI Major Bleeds (LD+30, Safety Pop) ......................... 217
          Figure 45. ROCKET Non-Major CR Bleeds (LD+2, Safety Pop) ........................................... 218
          Figure 46. ROCKET Investigator NMCR Bleeds (LD+2, Safety Pop).................................... 218
          Figure 47. ROCKET Hemorrhagic Stroke (LD+2, Safety Pop) .............................................. 221
          Figure 48. ROCKET Hemorrhagic Stroke (LD+14, Safety Pop) ............................................ 222
          Figure 49. ROCKET Hemorrhagic Stroke (LD+30, Safety Pop) ............................................ 223
          Figure 50. ROCKET Hemorrhagic Stroke (Regardless, ITT)................................................. 223
          Figure 51. ROCKET Observed INRs (Region Means of Subject Mean INRs)....................... 226
          Figure 52. ROCKET K-M Safety Endpoint - US Alone (LD+2, Safety Pop) ........................... 229
          Figure 53. ROCKET K-M Major Bleeds - US Alone (LD+2, Safety Pop) ............................... 229
          Figure 54. ROCKET Principal Safety Endpoint (Post 3-30, Safety Pop) ............................... 235
          Figure 55. ROCKET Major Bleeds (Post 3-30, Safety Pop) .................................................. 236
          Figure 56. ROCKET Hemorrhagic Stroke (Post 3-30, Safety Pop) ....................................... 237
          Figure 57. ROCKET Hemorrhagic Stroke (3-End, Safety Pop) ............................................. 237
          Figure 58. ROCKET ISTH Non-Major CR Bleeds (Post 3-30, Safety Pop) ........................... 238
          Figure 59. Time To Non-Major Clinically Relevant Bleeding ................................................. 239
          Figure 60. Time To Major Bleeding ....................................................................................... 240
          Figure 61. Hazard Ration For Principal Safety Endpoint By Post-Baseline Concomitant
          Medications ............................................................................................................................ 242
          Figure 62 ROCKET - Plot of Transaminase and Bilirubin Elevations ..................................... 244
          Figure 63. Plots of Transaminase and Bilirubin Elevations in J-ROCKET, EINSTEIN Phase
          2, EINSTEIN DVT, EINSTEIN PE, EINSTEIN Extension, ODIXa DVT Phase 2, ATLAS ACS
          TIMI 46, & MAGELLAN .......................................................................................................... 245
          Figure 64. Time Course Of QT Changes............................................................................... 247




                                                                          9
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 12 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)




          Pharm-Tox Conclusion:

              x   NDA 202439 is approvable with appropriate labeling regarding bleeding during
                  pregnancy and delivery.


          4.4 Clinical Pharmacology

          4.4.1 Mechanism of Action
          Activation of Factor X is the initial step in the final common coagulation pathway. FXa
          cleaves prothrombin to generate thrombin, which triggers the conversion of fibrinogen to
          fibrin, the fibrous protein that polymerizes to form a clot in conjunction with platelets.
          The activity of FXa is greatly increased when it is complexed with activated co-factor V
          in the prothrombinase complex. By inhibiting FXa, rivaroxaban inhibits the formation of
          thrombin from prothrombin and the downstream formation of fibrin and blood clots.
          Because of the functional location of FXa at the top of the final common coagulation
          pathway, rivaroxaban affects clotting induced through both the intrinsic and extrinsic
          clotting cascades. Studies of the FXa inhibitory action of rivaroxaban are discussed in
          Section. 4.4.3.

          4.4.2 Pharmacodynamics
          The recently approved labeling for rivaroxaban for use in DVT prevention indicates that,
          “Dose-dependent inhibition of factor Xa activity was observed in humans and the
          Neoplastin® prothrombin time (PT), activated partial thromboplastin time (aPTT) and
          HepTest® are prolonged dose-dependently. Anti-factor Xa activity is also influenced by
          rivaroxaban. There are no data on the use of the International Normalized Ratio (INR).
          The predictive value of these coagulation parameters for bleeding risk or efficacy has
          not been established.”

                  Reviewer Comment: Data relating the relationship of coagulation parameters to
                  efficacy and bleeding events in the ROCKET trial are discussed below.
                  Information on the choice of dose for the ROCKET trial is discussed in Section
                  6.1.8.

          Incorporated into ROCKET was a PK-PD sub-study in which approximately 161 patients
          were assessed with a Rivaroxaban level, prothrombin time, FXa activity, and PiCT at
          weeks 12 and 24. The PD data from that sub-study was utilized to construct a
          comparison between a simulated 10-mg BID regimen versus the observed PK-PD
          relationship for the 20-mg QD regimen that was observed in ROCKET. This simulation


                                                     33
Reference ID: 2998874
Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 13 of 26
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 14 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          4.4.3 Pharmacokinetics
          The approved labeling includes the following information about the PK of rivaroxaban:

          Absorption

              x   The absolute bioavailability of rivaroxaban is estimated to be 80% to 100%) for
                  the 10 mg dose. Rivaroxaban is rapidly absorbed with maximum concentrations
                  (Cmax) appearing 2 to 4 hours after tablet intake.
              x   Bioavailability of a 20 mg dose is reduced somewhat, but is increased when
                  rivaroxaban is given with food.
              x   Rivaroxaban pharmacokinetics are linear with no relevant accumulation beyond
                  steady-state after multiple doses. Intake with food does not affect rivaroxaban
                  AUC or Cmax at the 10 mg dose.
              x   The pharmacokinetics of rivaroxaban were not affected by drugs altering gastric
                  pH.
              x   Absorption of rivaroxaban is dependent on the site of drug release in the GI tract.
                  A 29% and 56% decrease in AUC and Cmax compared to tablet was reported
                  when rivaroxaban granulate is released in proximal small intestine. Exposure is
                  further reduced when drug is released in the distal small intestine, or ascending
                  colon.

          Distribution

              x   Plasma protein binding of rivaroxaban in human plasma is approximately 92% to
                  95%, with albumin being the main binding component.
              x   The steady-state volume of distribution in healthy subjects is approximately 50 L.

          Metabolism

              x   Approximately 51% of an orally administered [14C]-rivaroxaban dose was
                  recovered as metabolites in urine (30%) and feces (21%).
              x   Oxidative degradation catalyzed by CYP3A4/5 and CYP2J2 and hydrolysis are
                  the major sites of biotransformation.
              x   Unchanged rivaroxaban was the predominant moiety in plasma with no major or
                  active circulating metabolites.

          Excretion

              x   Following oral administration of a [14C]-rivaroxaban dose, 66% of the radioactive
                  dose was recovered in urine (36% as unchanged drug) and 28% was recovered
                  in feces (7% as unchanged drug).
              x   Unchanged drug is excreted into urine, mainly via active tubular secretion and to
                  a lesser extent via glomerular filtration (approximate 5:1 ratio).


                                                      35
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 15 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

              x   Rivaroxaban is a substrate of the efflux transporter proteins P-gp and ABCG2
                  (also abbreviated BCRP). Rivaroxaban’s affinity for influx transporter proteins is
                  unknown.
              x   Rivaroxaban is a low-clearance drug, with a systemic clearance of approximately
                  10 L/hr in healthy volunteers following IV administration.
              x   The terminal elimination half-life of rivaroxaban is 5 to 9 hours in healthy subjects
                  aged 20 to 45 years.

          Special Populations

              x   Gender did not influence the pharmacokinetics or pharmacodynamics of
                  rivaroxaban.
              x   Healthy Japanese subjects were found to have 50% higher exposures compared
                  to other ethnicities including Chinese.
              x   In clinical studies, elderly subjects exhibited higher rivaroxaban plasma
                  concentrations than younger subjects with mean AUC values being
                  approximately 50% higher, mainly due to reduced (apparent) total body and renal
                  clearance. Age related changes in renal function may play a role in this age
                  effect. The terminal elimination half-life is 11 to 13 hours in the elderly.

          Body Weight

              x   Extremes in body weight (<50 kg or >120 kg) did not influence rivaroxaban
                  exposure.

          Drug Interactions

              x   In vitro studies indicate that rivaroxaban neither inhibits the major cytochrome
                  P450 enzymes CYP1A2, 2C8, 2C9, 2C19, 2D6, 2J2, and 3A4 nor induces
                  CYP1A2, 2B6, 2C19, or 3A4.
              x   In vitro data also indicates a low rivaroxaban inhibitory potential for P-gp and
                  ABCG2 transporters.
              x   There were no significant pharmacokinetic interactions observed in studies
                  comparing concomitant rivaroxaban 20 mg and 7.5 mg single dose of midazolam
                  (substrate of CYP3A4), 0.375 mg once-daily dose of digoxin (substrate of P-gp),
                  or 20 mg once daily dose of atorvastatin (substrate of CYP3A4 and P-gp) in
                  healthy volunteers.

          PK – PD Relationships

          With respect to the PK-PD relationship, there is a direct linear relationship between
          serum concentrations of Rivaroxaban expected in human use at the doses used in
          ROCKET, as demonstrated by the results of PK study 10847 (PPK03-002), as seen in
          Figure 4 below:



                                                       36
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 16 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

                            Figure 4. Rivaroxaban plasma concentration vs. PT




          Similarly, this study also demonstrated an inverse curvilinear relationship between
          rivaroxaban concentrations in this range and FXa activity, as seen in Figure 5 below:


                        Figure 5. Rivaroxaban plasma concentration vs. FXa-activity




                                                     37
Reference ID: 2998874
Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 17 of 26
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 18 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

                        Figure 7. ROCKET ischemic stroke vs. PT (LD+2, pp pop)




                                                               N            N of Event
                         Per-Protocol Analysis Set           7008               150
                         PT-outcome subset                6193 (88%)        124 (83%)




          3. Is there a PT-Bleeding relationship? PT data from the 7008 patients in the ROCKET
             per protocol analysis dataset demonstrates that the risk of major bleeds increases
             with PT, regardless of whether major bleeding defined as ISTH major bleeding per
             the ROCKET protocol, or as TIMI major bleeding, as can be seen from Figure 8 and
             Figure 10 , respectively, below:




                                                     39
Reference ID: 2998874
Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 19 of 26
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 20 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          It is reassuring that for the overall population, there does not appear to be a shift from
          lesser severities of ISTH major bleeding (i.e. hemoglobin drops and transfusions) to the
          more severe forms (i.e. critical organ bleeding and fatal bleeding) as a function of PT
          prolongation with rivaroxaban, as can be seen in the FDA analysis in Table 6:

                           Table 6. ROCKET ISTH Major Bleeding Type vs. PT

                                          Rivaroxaban (PT-Major bleeding subset) N 6172
          PT Quartiles            Hemoglobin          2U blood         Critical organ   Bleed result in
                                  drop, n (%)     transfusion, n (%)   bleed, n (%)      death, n (%)
                                   35/1573             16/1573           15/1573           1/1573
          Q1 (<14.2 sec)
                                    (2.23)              (1.02)             (0.95)           (0.06)
                                   49/1543             24/1543           20/1543           8/1543
          Q2 (14.2-<16.6 sec)
                                    (3.18)              (1.56)             (1.30)           (0.52)
                                   58/1501             33/1501           25/1501           6/1501
          Q3 (16.6-<19.8 sec)
                                    (3.86)              (2.20)             (1.67)           (0.40)
                                   88/1555             61/1555           19/1555           7/1555
          Q3 (19.8 sec)
                                    (5.66)              (3.92)             (1.22)           (0.45)


          The relationship between PT prolongation and major bleeding is exacerbated in patients
          taking concomitant ASA at least 50% of the time, and attenuated in patients not taking
          ASA (FDA analysis, Figure 10 below).


                        Figure 10. ROCKET ISTH major bleeding vs. PT by ASA use

                                                                                     Rivaroxaban
                                                                             (PT-Major bleeding subset)
                                                             PT Quartiles               N 6172
                                                                              Incidence n Event Rate
                                                                                  (%)       (100 pt-yrs)
                                                                  Q1            49/1573
                                                                                                1.88
                                                              (<14.2 sec)        (3.12)
                                                                  Q2            68/1543
                                                                                                2.54
                                                            (14.2-<16.6 sec)     (4.41)
                                                                  Q3            78/1501
                                                                                                2.95
                                                            (16.6-<19.8 sec)     (5.20)
                                                                  Q4           111/1555
                                                                                                4.29
                                                              (19.8 sec)        (7.14)




                                                      41
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 21 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          It is important to acknowledge that a similar relationship between ASA co-therapy with
          warfarin and major bleeding is demonstrated, as would be expected (FDA analysis,
          Figure 11 below). As was seen with rivaroxaban, aspirin co-therapy with warfarin
          increases the risk of major bleeding. Aspirin increased the 100 p-y event rate for major
          bleeding in rivaroxaban-treated patients from 3.02 to 5.82. However, ASA similarly
          increased the 100 p-y event rate of major bleeding in patients taking warfarin from 3.03
          to 4.76.

          In this circumstance where 20-mg rivaroxaban demonstrates PT independent
          occurrence of ischemic stroke events, while simultaneously demonstrating a linear (or
          curvilinear) increase in the risk of major bleeding with increasing coagulation PD
          parameters (regardless of which definition of major bleeding is used, or which
          coagulation PD parameter is assessed, FXa-activity and PiCT data not show) dose
          optimization can only be performed for decreasing the risk of major bleeding. This is
          unlike the situation with warfarin, in that the ROCKET warfarin data demonstrates the
          expected balance of benefit and risk with respect to ischemic strokes and TIMI major
          bleeding between an INR of 2.0 to 3.0, as calculated from the last observed PT, as
          shown below in Figure 11:

                Figure 11. ROCKET Warfarin Patients - stroke / TIMI major bleeds vs. INR


                            Ischemic Stroke                        TIMI Major Bleed




          Of note, approximately 10% of PT measurements from ROCKET patients at week 12
          shift to extreme quartiles by week 24, as shown in Table 7 below:




                                                     42
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 22 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

                  Table 7. Comparisons of Week 12 vs. Week 24 Pt Values In ROCKET

                                                             Week 24
                                 PT sec      Q1         Q2         Q3       Q4
                               (n = 5280) 9.4-14.1s 14.2-16.4s 16.5-19.6s 19.7s
                                   Q1
                                              56%          22%         13%         9%
                                8.2-14.1
                                  Q2
                    Week 12                   26%          37%         26%        10%
                               14.2-16.3
                                  Q3
                                              13%          24%         37%        26%
                               16.4-19.5
                                   Q4
                                               7%          14%         25%        54%
                                  19.6




          4. How does QD compare to BID regimen? See Section 4.4.2


          Reviewers’ Conclusions: PK-PD-Clinical Outcomes Relationships

              x   PT can be used as a surrogate for PK in the range of plasma rivaroxaban
                  concentrations demonstrated from this sample of patients in ROCKET.

              x   No PT-dependent reduction in ischemic stroke is demonstrated over the range of
                  PT data

              x   The risk for Major Bleeding is dependent on PT (both sponsor-fined and TIMI
                  Major Bleeding

              x   Similar safety and efficacy relationships are demonstrated for quartiles of PiCT
                  and/or FXa inhibition (data not shown)

              x   BID dosing provides less PT fluctuation compared to QD in simulation modeling
                  but the impact on efficacy and/or bleeding cannot be assessed due to lack of
                  multiple dosing strategies in ROCKET

              x   10% of PT values in rivaroxaban treated patients shift to extreme quartiles
                  between weeks 12 and 24. The implication of this finding is that a single PT (or




                                                      43
Reference ID: 2998874
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 23 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

                  INR) measurement will not consistently predict future bleeding risk in
                  approximately 10% of patients, as this value may importantly shift with time.

              x   Monitoring rivaroxaban therapy with sequential prothrombin times to optimize
                  safety outcomes cannot be recommended due to a lack of information regarding:
                     o within-patient variability of PT measurements on this drug in the setting of
                         a short half-life and rapidly changing PD effects over each 24 hour period,
                         and
                     o What action to recommend to the medical provider based on PT results,
                         given that only a single dose was tested in ROCKET

              x Stroke reduction and bleeding risk for warfarin are dependent upon the last
                  observed INR, and demonstrate the expected optimization in the INR range of
                  2.0 to 3.0.

          For a thorough discussion of the PK-PD-Clinical outcomes relationships observed in
          ROCKET, see section 7.3.4, sub-section titled, “Bleeding Occurrences in ROCKET
          Subgroups: The PK-PD Relationship, and the PD Relationship to Major Bleeding.”

          The INR-Clinical Outcome Relationship with Rivaroxaban

          The ROCKET protocol stipulated that rivaroxaban should be taken in the evening, and
          that all INRs were to be obtained by the point of care device at their investigator’s sites.
          Given the realities of this timing, the majority of the INRs from ROCKET were likely
          measured between 12 and 18 hours post dosing. Indeed, at weeks 12 and 24 when all
          patients were to have a PT drawn, most of the samples were obtained between 13 and
          15 hours post dose, as seen in the distribution in Figure 12 below:

                        Figure 12. ROCKET – Timing of INR Blood Draws After Dosing




                                                       44
Reference ID: 2998874
              Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 24 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          Over the course of ROCKET, there were 175,881 INR measurements performed on
          patients taking rivaroxaban (as opposed to 190, 663 INR measurements performed on
          patients taking warfarin). A distribution analysis of those INR results in the two patient
          arms is demonstrated in Figure 13. below:

                                     Figure 13. ROCKET INR distributions


                                              Rivaroxaban         Warfarin
                                        INR
                                                 n (%)             n (%)
                                         >3       1239 (0.70) 39,796 (20.9)
                                         >4        757 (0.43) 10,891 (5.71)
                                         >5        570 (0.32) 4,088 (2.14)
                                         >6        458 (0.26) 1,961 (1.03)



                                                                                   Warfarin INRs
                                 Riva INRs                                         Mean 2.421
                                 Mean 1.376                                        Std D 0.891
                                 Std D 0.392



          1       2      3       4        5      6           1      2       3      4       5       6




          While the rivaroxaban INRs were tightly clustered around a mean value of 1.376, there
          existed a demonstrable right skew in the rivaroxaban INR distribution, raising the
          question as to whether this tail represented just those patients who happened to have
          their INRs drawn relatively close to when they took their drug (e.g., they may have taken
          the drug in the morning before coming to the site for an INR), or, given the PT-Major
          bleeding relationship that has already been demonstrated, that a similar PT-Major
          bleeding relationship could be demonstrated for the entire rivaroxaban-treated arm in
          ROCKET. Accordingly, a similar PD-Major bleeding analysis was performed based on
          the rivaroxaban INRs, which demonstrated almost identical results to the weeks 12 and
          24 coagulation PD parameter analysis above. Specifically, the risk for ischemic stroke
          was not dependent on the last observed INR for rivaroxaban, as demonstrated in Figure
          14 below:



                                                      45
Reference ID: 2998874
Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 25 of 26
             Case 2:14-md-02592-EEF-MBN Document 5113-3 Filed 01/20/17 Page 26 of 26

          Clinical Review: Nhi Beasley, Preston Dunnmon and Martin Rose
          Application type: Standard, NDA 22-439
          Xarelto (rivaroxaban)

          Reviewers’ Conclusions: INR-Clinical Outcomes Relationship

              x There is no INR dependent reduction in ischemic stroke over the
                range of data
              x The risk for TIMI major bleeding is dependent on INR.



          5 Sources of Clinical Data
          5.1 Tables of Studies/Clinical Trials
          The sponsor’s tabular listing of clinical trials and studies of rivaroxaban includes 73 trials
          and studies. To date, Bayer or the development partnership (Bayer + Johnson &
          Johnson) has completed 65 clinical trials, including:

          1 absolute BA trial in healthy volunteers (HV)
          19 comparative BA/BE trials in HV
          1 PK/tolerability trials in CHF patients
          3 PK/tolerability trials in HV
          12 “intrinsic factor” PK trials (i.e., trials to observe the effect of various demographic and
          organ function related factors on PK)
          15 “extrinsic factor” PK trials (i.e., DDI trials) in HV
          4 PD or PK/PD trials in health volunteers
          2 Phase 3 stroke and SEE prevention trials in AFib patients (i.e., ROCKET-AFib and J
          ROCKET-AFib)
          7 other trials in various patient populations (VTE (4 trials), ACS (1 trial) and AFib (3
          safety trials).

          A total of an additional 7 prospective clinical trials were ongoing at the time of the NDA
          submission, including:

              x   2 trials in HV
              x   1 VTE prevention trial in at-risk patients
              x   1 trial in patients with acute PE
              x   1 3-month trial in patients with acute proximal VTE or PE who are receiving a
                  strong CYP 3A4 inducer for the duration of the trial.
              x   1 ACS trial
              x   1 VTE prevention trial in orthopedic patients examining transition to rivaroxaban
                  from LMWH

          There is also one additional, ongoing, observational cohort study of the prevention of
          VTE in patients with elective hip and knee arthroplasty (rivaroxaban vs. “current
          standard of care” for VTE prevention).


                                                       47
Reference ID: 2998874
